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  UNITED STATES DISTRICT COURT                                                               FILt:U
                                                                                            IN CLERK'S OFFICE
  EASTERN DISTRICT OF NEW YORK                                                       I),S. DISTRICT C(JURT E D N Y


  UNITED STATES OF AMERICA,                                    ORDER                 * APR272012 *
                 - against-                                    07-CR-874             BROOKv4 OFFICE

  SHAWN PENDER,

                          Defendant.


  JACK B. WEINSTEIN, Senior United States District Judge:

         Defendant's motion for resentencing is denied. See Letter of Melissa B. Marrus 1-2,

  United States v. Armstrong et ai., No. 07-CR-874 (E.D.N.Y. Jan. 13,2012), CMlECF No. 615

  (detailing analysis); Hr'g Tr. of Apr. 9, 2012. Neither defendant nor his counsel, appointed to

  represent him in connection with the instant motion, has been able to suggest any basis for

  resentencing. See Letter of Joel M. Stein, United States v. Armstrong et ai., No. 07-CR-874

  (E.D.N.Y. Mar. 27, 2012), CMIECF No. 623. No reason supporting the imposition of a lesser

  sentence is, in any event, available.

         A copy of this order shall be sent to defendant at his address of record.


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                                                       Jack B. Weinstein
                                                       Senior United States District Judge

  Dated: April 26, 2012
  Brooklyn, New York
